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11                             UNITED STATES DISTRICT COURT

12                                    DISTRICT OF NEVADA

13   EDWARD D. JONES & CO., L.P.                      Case No.: 2:19-cv-01968

14          Plaintiff,
                                                      PLAINTIFF EDWARD JONES’
15          v.                                        OPPOSITION TO DEFENDANT’S
                                                      MOTION TO DISSOLVE OR MODIFY
16   MICHAEL PETERSON,                                TEMPORARY RESTRAINING ORDER
                                                      AND REQUEST FOR EXPEDITED
17          Defendant.                                TREATMENT

18

19          Plaintiff Edward D. Jones & Co., L.P. (“Edward Jones”), by and through its undersigned

20   counsel, hereby opposes Defendant Michael Peterson’s (“Defendant”) Motion to Dissolve Ex

21   Parte Temporary Restraining Order; Expedited Treatment Requested (ECF No. 14) (the “Motion

22   to Dissolve”).

23          This Motion is brought pursuant to Federal Rule of Civil Procedure 65 and is based upon

24   the following Memorandum of Points and Authorities, the pleadings and papers on file herein,

25   and such other evidence and argument as the Court may allow.

26   I.     INTRODUCTION
27          Defendant’s Motion to Dissolve seeks only to expedite the currently already-expedited

28   briefing and hearing schedule on Plaintiff’s Motion for Preliminary Injunction Order. However,
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1    it provides no legal or factual basis to do. There is no reason why this matter should not proceed

2    upon the expedited scheduled set forth in the Temporary Restraining Order (ECF No. 10) (the

3    “TRO”).

4           Furthermore, Defendant and his counsel received notice of the filing on Friday November

5    8, 2019 via telephone and subsequent email exchanges. In those emails, Defendant and Edward

6    Jones discussed the pleadings and request to this Court. Those communications included the

7    issuance of courtesy copies of the pleadings to Defendant’s counsel and addressed whether

8    Defendant’s counsel would accept service of the same. See ECF No. 11-2. Defendant’s counsel

9    chose not to enter her appearance or otherwise contact the Court to notify it of her representation.

10   While the parties cannot know whether that would have impacted the procedural stance of this

11   matter, to now suggest that Edward Jones improperly sought an ex parte Temporary Restraining

12   Order is not based in fact.

13          Consequently, Edward Jones respectfully submits that Defendant’s Motion to Dissolve

14   should be denied.

15   II.    THIS MATTER IS ALREADY EXPEDITED UNDER FEDERAL RULE OF
            CIVIL PROCEDURE 65
16

17          Defendant seeks expedited treatment of the Motion to Dissolve, including a hearing on

18   two days’ notice pursuant to Federal Rule of Civil Procedure 65(b)(4). This matter, though, is

19   already set for an expedited hearing following an expedited briefing schedule pursuant to Rule

20   65(b)(3). While subsection (b)(4) require a hearing “as promptly as justice requires,” the

21   preliminary injunction is scheduled for November 25, 2019, “at the earliest possible time, taking

22   precedence over all other matters” pursuant to subsection (b)(3). See TRO. At the hearing, this

23   Court will determine whether the TRO is converted to a preliminary injunction under the same or

24   similar terms or dissolved. As this matter has already been set for the “earliest possible time,”

25   under Rule 65, there is no legal basis to expedite this already-expedited matter under Rule 65.1

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27   1
        In addition, FINRA Rule 13804 provides a mechanism for an expedited arbitration to determine
28   if this Court’s TRO is extended, modified, or dissolved. Pursuant to Rule 13804, that hearing
     must take place within 15 days of the original TRO, in this case, no later than November 27, 2019.

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1    III.   DEFENDANT’S “EVIDENTIARY BASIS” FOR THE MOTION TO DISSOLVE
            IS LACKING
2

3           Beyond the fact that Rule 65 does not provide a basis to expedite the proceedings under

4    these circumstances, Defendant has presented no factual basis to do so.

5           Contrary to the assertions in the Motion to Dissolve, Defendant has not presented “direct

6    evidence” that Defendant has not misappropriated confidential customer information that belongs

7    to Edward Jones to solicit Edward Jones customers in breach of his employment agreement and

8    the state and federal trade secret statutes cited in Edward Jones’ Motion for Preliminary Injunction

9    (ECF No. 6). As Edward Jones will more fully argue in its reply brief due on November 22,

10   Defendant’s carefully worded declaration is glaring in its omissions. Nowhere does it provide any

11   comfort to Edward Jones or this Court that Defendant has not retained Edward Jones’ confidential

12   customer information. See generally ECF No. 11-1. While Defendant’s Opposition to the Motion

13   for Preliminary Injunction (ECF No. 11) muses in the abstract that it is generally possible to obtain

14   phone numbers and addresses via Google or social media (see id. at 16), Defendant’s declaration

15   does not deny that Defendant obtained the contact information of the customers at issue from

16   Edward Jones. (See generally ECF No. 11 and ECF No. 11-1.) Further, Defendant does not deny

17   possessing or using Edward Jones’ confidential customer information. (See generally id.) In fact,

18   Defendant carefully only provides that he did not use or rely upon information developed by

19   Edward Jones. Moreover, Defendant does not attempt to confront the language of the employment

20   agreement whereby Defendant agreed that such information was proprietary, confidential, and

21   trade secret, and promised not to use it except within the course and scope of his employment with

22   Edward Jones. Thus, Edward Jones remains likely to succeed on the merits of its claims.

23          More importantly, however, even if Defendant had produced “direct evidence,” that he has

24   not used confidential customer information to solicit Edward Jones’ customers, that evidence is

25   properly evaluated in the context of the preliminary injunction briefing and hearing. Rather,

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27
     FINRA has already begun that process by delivering potential arbitrator biographies to counsel
28   and requiring their return with strikes and ranking by November 18. See Declaration of Laura R.
     Jacobsen, attached hereto as Exhibit 2, at ¶¶ 5-6.

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1    what’s important for purposes of deciding the Motion to Dissolve, is that Defendant has not

2    presented a factual basis to expedite this already-expedited proceeding. Specifically, the Motion

3    to Dissolve fails to explain the “irreparable harm” Defendant faces if he should prevail and the

4    TRO is not dissolved until after the hearing on November 25, 2019. Indeed, Defendant argues

5    that the supposed “damage” caused by the TRO is already done. See ECF No. 14 at 2-3.

6    IV.    THE TRO PRESERVES THE STATUS QUO

7           The TRO tracks the language of Defendant’s employment agreement, requiring him only

8    to do (or not do) what he already agreed to do (or not do). Specifically, Defendant has been

9    enjoined from directly or indirectly: (1) soliciting Edward Jones’ customer whom he “served or

10   whose name became known to [Defendant] during his employment with Edward Jones” and (2)

11   “using, disclosing, or transmitting for any purpose Edward Jones’ documents, materials, trade

12   secrets, and/or confidential or proprietary information pertaining to Edward Jones, its employees,

13   it operation, and/or its customers.” TRO (ECF No. 10) at 6; compare Employment Agreement

14   (ECF No. 1-1) at ¶ 11. Because the TRO requires only of Defendant what his employment

15   agreement already requires, it preserves the status quo by definition. If Defendant is abiding by

16   his contractual obligations as he claims, then the TRO places no further burden upon him.

17          On this note, it is important to bring conversations among counsel the Court’s attention.

18   While the Motion to Dissolve, filed on November 13, misreads the TRO to argue that it goes

19   beyond Defendant’s contractual obligations to prevent him from earning a living, counsel have

20   already clarified Defendant’s apparent misunderstanding. Specifically, in emails exchanged on

21   November 12, the day before Defendant filed the Motion to Dissolve, provide clarification

22   requested by Defendant as to the parameters of the TRO. See Emails among counsel, attached

23   hereto as Exhibit 1. As explained in the emails, the TRO only requires what the employment

24   agreement already requires. And if the TRO’s plain language were not already perfectly clear (it

25   is), the emails among counsel should have assuaged any doubts.

26   V.     THERE IS NO BASIS TO MODIFY THE TRO

27          Because the TRO requires only that Peterson abide by his contractual obligations, there is

28   no basis to modify the TRO to require any bond of Edward Jones, let alone a bond in the amount


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1    of $50,000.00. Defendant was never entitled to indirectly or directly solicit certain Edward Jones

2    customers or use confidential customer information. Thus, there is no harm in preventing him

3    from doing so. Further, the employment agreement contains Defendant’s acknowledgment that

4    that its narrow non-solicit provision would not impede him from earning a living, and that no bond

5    would be required in the event of injunctive relief to prevent Defendant’s actual or threatened

6    breach. See ECF No. 1-1 at ¶¶ 11, 12. Defendant has presented no basis for this Court to suddenly

7    overturn its findings and modify the TRO to require a bond.

8    VI.    CONCLUSION

9           For the foregoing reasons, Edward Jones respectfully requests that the Court deny

10   Defendant’s Motion to Dissolve and allow the preliminary injunction briefing and hearing to

11   proceed on the already-expedited course set forth in the Court’s Temporary Restraining Order.

12   DATED: November 13, 2019               Respectfully submitted:

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1                                     LIST OF EXHIBITS

2
      EXHIBIT                                   DESCRIPTION
3
          1.    Emails
4
          2.    Declaration of Laura Jacobsen
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